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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 DAVID HASLETT,                                 )
                                                )
         Plaintiff,                             )
                                                )        No. 2:19-cv-02372-TLP-tmp
 v.                                             )
                                                )        JURY DEMAND
 SANTANDER CONSUMER USA, INC.,                  )
                                                )
         Defendant.                             )


                                       JUDGMENT


JUDGMENT BY COURT. This action came before the Court on Plaintiff’s Complaint

filed on June 7, 2019. (ECF No. 1.) In accordance with the Joint Stipulation of Dismissal

(ECF No. 12), agreed to by the parties in the case and under Federal Rules of Civil Procedure

41(a)(1)(A)(ii),

IT IS ORDERED, ADJUDGED, AND DECREED that this action is DISMISSED WITH

PREJUDICE. Each party shall bear their own attorney’s fees, costs and expenses.

APPROVED:

s/ Thomas L. Parker
THOMAS L. PARKER
UNITED STATES DISTRICT JUDGE

August 26, 2019
Date
